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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             SOUTHERN DISTRICT OF FLORIDA
                                 PALM BEACH DIVISION

   UNITED STATES OF AMERICA,                          )
                                                      )
              Plaintiff,                              )     Case No. 9:21-cv-80779-AMC
                                                      )
              v.                                      )
                                                      )
   104 ANDOVER COURT LLC,                             )
   RH FUND XX, LLC,                                   )
   DAVID M. FERRIS,                                   )
   OCEAN CITY LOFTS CONDOMINIUM                       )
   ASSOCIATION, INC., and                             )
   PALM BEACH COUNTY TAX                              )
   COLLECTOR,                                         )
                                                      )
              Defendants.                             )

                           STIPULATION OF VOLUNTARY DISMISSAL

         Plaintiff United States of America, pursuant to the terms of an October 29, 2021

  settlement agreement between the United States and Defendant 104 Andover Court, LLC, and

  with the consent of all parties which have appeared in the case, hereby dismisses the above-

  captioned case with prejudice.


  /s/Bradley A. Sarnell                                   /s/Matthew I. Kramer (with consent)
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  of America




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  /s/Hampton Peterson (with consent)                    /s/Ronald M. Rosengarten (with consent)
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  /s/Michael Toback (with consent)                      /s/Cory S. Carano (with consent)
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  Attorneys for Defendant Ocean City Lofts              Attorney for Defendant 104 Andover Court
  Condominium Association, Inc.                         LLC


                                   CERTIFICATE OF SERVICE

         I hereby certify that on this 16th day of February, 2022, I electronically filed the

  foregoing document with the Clerk of Court using the CM/ECF system, which will send

  notification of such filing to all ECF filers. There are no parties which require conventional

  service.


                                                /s/ Bradley A. Sarnell
                                                BRADLEY A. SARNELL
                                                Trial Attorney
                                                United States Department of Justice, Tax Division




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